Case 1:24-cv-01722-TWP-MG    Document 75    Filed 12/10/24   Page 1 of 3 PageID #: 934


                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF INDIANA


  LSP TRANSMISSION HOLDINGS II, LLC, LS
  POWER MIDCONTINENT, LLC, CENTRAL
  TRANSMISSION, LLC, and LS POWER GRID
  DRS HOLDINGS, LLC,

              Plaintiffs,

  v.

  JAMES F. HUSTON, Chairman, Indiana
  Utility Regulatory Commission, WESLEY
  R. BENNETT, Commissioner, Indiana
  Utility Regulatory Commission, SARAH E.
  FREEMAN, Commissioner, Indiana Utility
  Regulatory Commission, DAVID E.
  VELETA, Commissioner, Indiana Utility
  Regulatory Commissioner, and DAVID E.
                                                 Case No. 1:24-cv-01722-TWP-MG
  ZIEGNER, Commissioner, Indiana Utility
  Regulatory Commission, each in his or
  her official capacity,

              Defendants,

  and

  NORTHERN INDIANA PUBLIC SERVICE
  COMPANY, INDIANAPOLIS POWER & LIGHT
  COMPANY d/b/a AES Indiana, SOUTHERN
  INDIANA GAS AND ELECTRIC COMPANY
  d/b/a CenterPoint Energy Indiana South,
  and DUKE ENERGY INDIANA, LLC,

              Intervenor-Defendants.


        INTERVENOR-DEFENDANTS NORTHERN INDIANA PUBLIC SERVICE
          COMPANY, INDIANAPOLIS POWER & LIGHT COMPANY D/B/A AES
        INDIANA, SOUTHERN INDIANA GAS AND ELECTRIC COMPANY D/B/A
           CENTERPOINT ENERGY INDIANA SOUTH, AND DUKE ENERGY
                     INDIANA, LLC’S NOTICE OF APPEAL
Case 1:24-cv-01722-TWP-MG     Document 75     Filed 12/10/24   Page 2 of 3 PageID #: 935


        Pursuant to 28 U.S.C. § 1292(a)(1) and Federal Rule of Appellate Procedure 3,

  notice is hereby given that Intervenor-Defendants Northern Indiana Public Service

  Company, Indianapolis Power & Light Company d/b/a AES Indiana, Southern

  Indiana Gas and Electric Company d/b/a CenterPoint Energy Indiana South, and

  Duke Energy Indiana, LLC appeal to the U.S. Court of Appeals for the Seventh

  Circuit the District Court’s Entry Granting Plaintiffs’ Motion For Preliminary

  Injunction, entered December 6, 2024, Dkt.70, and Preliminary Injunction Order,

  also entered December 6, 2024, Dkt.71.

  Dated: December 10, 2024.                 Respectfully submitted,

                                            /s/ Misha Tseytlin
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                                            Attorneys for Northern Indiana Public
                                            Service Company, Indianapolis Power &
                                            Light Company d/b/a AES Indiana,
                                            Southern Indiana Gas and Electric
                                            Company d/b/a CenterPoint Energy
                                            Indiana South, and Duke Energy
                                            Indiana, LLC
Case 1:24-cv-01722-TWP-MG     Document 75     Filed 12/10/24   Page 3 of 3 PageID #: 936


                            CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of December, 2024, a true and accurate

  copy of the foregoing was served via the Court’s CM/ECF system upon all counsel

  of record.

                                                    /s/ Misha Tseytlin
                                                    MISHA TSEYTLIN
